Case 8:20-cv-00597-RGK-DFM Document 11 Filed 06/23/20 Page1of16 Page ID #:81

 

 

 

 

 

UNITED STATES DISTRICT COURT CLERK, US DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA Tune 23, 2020
NOTICE OF DOCUMENT DISCREPANCIES CNTRAL DRTC OF caLAFORea

 

 

 

To: M U.S. District Judge / 0 U.S. Magistrate Judge R. Gary Klausner
, Deputy Clerk Date Received: May 15, 2020

Case Title: Bourque CPA s etc, et al v. The People s Republic of China

From: Victor Paul Cruz

Case No.: SA CV 20-00597 RGK

 

Document Entitled: Letter to Court from non-party

 

Upon the submission of the attached document(s), it was noted that the following discrepancies exist:

DO Local Rule 5-4.1
C] Local Rule 6-1

Documents must be filed electronically
Written notice of motion lacking or timeliness of notice incorrect

CI Local Rule 7-19.1
C1 Local Rule 7.1-1
Ci Local Rule 11-3.1
CO Local Rule 11-3.8
C] Local Rule 11-4.1
Cl Local Rule 11-6
C Local Rule 11-8
CJ Local Rule 15-1
C1] Local Rule 16-7
C1 Local Rule 19-1
CJ Local Rule 56-1

Notice to other parties of ex parte application lacking

No Certification of Interested Parties and/or no copies

Document not legible

Lacking name, address, phone, facsimile numbers, and e-mail address
No copy provided for judge

Memorandum/brief exceeds 25 pages

Memorandum/brief exceeding 10 pages shall contain table of contents
Proposed amended pleading not under separate cover

Pretrial conference order not signed by all counsel
Complaint/Petition includes more than 10 Does or fictitiously named parties
Statement of uncontroverted facts and/or proposed judgment lacking

[J Local Rule 56-2
Local Rule 83-2.5
Cl Fed. R. Civ. P.5 No proof of service attached to document(s)
Other: Nota party to this action.

Statement of genuine disputes of material fact lacking
No letters to the judge

 

 

Please refer to the Court’s website at www.cacd.uscourts.gov for Local Rules, General Orders, and applicable forms.

 

ORDER OF THE JUDGE/MAGISTRATE JUDGE

IT IS HEREBY ORDERED:

(1 The document is to be filed and processed. The filing date is ORDERED to be the date the document was stamped
“received but not filed” with the Clerk. Counsel* is advised that any further failure to comply with the Local Rules may
lead to penalties pursuant to Local Rule 83-7.

 

 

Date US. District Judge / U.S. Magistrate Judge

The document is NOT to be filed, but instead REJECTED, and is ORDERED returned to counsel.* Counsel* shall
immediately notify, in writing, all parties previously served with the attached documents that said documents have not

been filed with the Court. j %
June 23, 2020 “9
Date U.S. District Judge / U.S. Magistrate Judge

 

 

* The term “counsel” as used herein also includes any pro se party. See Local Rule 1-3.

COPY I -ORIGINAL-OFFICE COPY 2 -JUDGE COPY 3 -SIGNED & RETURNED TO FILER COPY 4 -FILER RECEIPT

 

CV-104A (06/13)

NOTICE OF DOCUMENT DISCREPANCIES

 
Case 8:20-cv-00597-RGK-DFM Document 11 Filed 06/23/20 Page 2of16 Page ID #:82

Judge R. Gary Klausner Embassy Office of Inspector General
Federal Court People's Republic of China Central Intelligence Agency
255 East Temple Street 3505 International Pl., N.W. Washington, D.C. 20505
Los Angeles, CA 90012 Washington, D.C. 20008

Notice of pending filing in accordance with the U.S. Constitution, First Amendment, Last Sentence:
“Congress shall make no law respecting an establishment of religion, or prohibiting the free exercise
thereof; or abridging the freedom of speech, or of the press, or the right of the people peaceably to

assemble, and to petition the government for a redress of grievances.”

China is not responsible for the negligent release of The Katrina Virus.

 

 

> State of Missouri v. People's Republic of China (1:20-cv-00099) District Court, E.D. Missouri
Judge Stephen Nathaniel Limbaugh Jr.
> Alters v. People’s Republic of China (1:20-cv-21108) District Court, S.D. Florida Judge Ursula
Mancusi Ungaro
>» Edwards v. People's Republic of China (2:20-cv-01393) District Court, E.D. Louisiana Judge
Nannette Jolivette Brown
> Bella Vista LLC v. The People's Republic of China (2:20-cv-00574) District Court, D. Nevada Judge
James C. Mahan
>» Buzz Photo v. People's Republic of China (3:20-cv-00656) District Court, N.D. Texas Judge James
E. Kinkeade
>» Cardiff Prestige Property, Inc. v. Peoples Republic of China (8:20-cv-00683) District Court, C.D.
California Judge David O. Carter
> Bourque CPA s and Advisors, Inc. v. The People s Republic of China (8:20-cv-00597) District
Court, C.D. California Judge Robert G. Klausner
> Aharon v. Chinese Communist Party (9:20-cv-80604) District Court, S.D. Florida Judge Roy
Kalman Altman
> Smith (2:20-cv-01958) District Court, E.D. Pennsylvania Judge Anita Blumstein Brody
Godspeed
Sincerely,
David Andrew Christenson
Box 9063

 

Miramar Beach, Florida 32550 =
904-715-3086 - davidandrewchristenson@gmail.com; - dchristenson6@hotmail.com:
Case 8:20-cv-00597-RGK-DFM Document 11 Filed 06/23/20 Page 3o0f16 Page ID #:83

This is about saving Mankind.

It is not about the U.S. against China or
China against the U.S.

Reference: Edwards v. People's Republic of China (2:20-cv-01393) District Court, E.D. Louisiana. Judge

Nannette Jolivette Brown

Mailed and Emailed May 9*", 2020 by David Andrew Christenson

Embassy
People's Republic of China

3505 International Pl., N.W.

Washington, D.C. 20008

Ambassador Cui Tiankai

3505 International PI., N.W.

Washington, D.C. 20008

Consulate General
People's Republic of China
520 12th Ave.

New York, NY 10036

Chief Justice John Roberts
Supreme Court

1 First Street, NE
Washington, DC 20543

Justice Sri Srinivasan

DC Appeal Court

333 Constitution Ave. NW
Washington, DC 20001

Jane Sullivan Roberts
MLegal Group

1455 Pennsylvania Ave NW
Suite #770

Washington, DC 20004

Hon N. V. Jolivette Brown
500 Poydras Street
Courtroom C227

New Orleans, LA

Federal Bar Association
1220 North Fillmore St.
Suite 444

Arlington, VA 22201

James C. Duff
Administrative Office
United States Courts
One Columbus Circle, NE
Washington, D.C. 20544

 

Robert Couhig

1100 Poydras Street
Suite 3250

Energy Centre

New Orleans, LA 70163

Sheriff Daniel Edwards
Tangipahoa Parish

15475 Club Deluxe Road
Hammond, Louisiana 70403

Sheriff Mike Cazes

West Baton Rouge Parish
850 8th Street

Port Allen, LA 70767

Clerk Mark Langer

DC Appeal Court

333 Constitution Ave. NW
Washington, DC 20001

Clerk Scott Atchue

DC Appeal Court

333 Constitution Ave. NW
Washington, DC 20001
Case 8:20-cv-00597-RGK-DFM Document 11 Filed 06/23/20 Page 4of16 Page ID #:84

Notice

Please let this Notice serve as a starting point in my quest to save Mankind. In 2010 | was declared to
be a terrorist by my government for trying to expose the negligent release of “The Katrina Virus” and the
murdering of Americans by the U.S. Military during Hurricane Katrina.

| will be filing pleadings in the above-mentioned case. Those pleadings might include Amicus Briefs,
Friend of the Court Briefs, Motion to Join, Motion to Intervene, etc. It is a class action complaint.

The attachments are a starting point.
SARS/COVID19 was the trigger that activated “The Katrina Virus”.

70% of Americans and 30% of Mankind that have been infected and or died live within 100 miles of
911/World Trade Centers/New York — Hurricane Katrina/BP Oil Spill/New Orleans — Chemical Warfare
Munitions Plant/Detroit.

Mayor C. Ray Nagin was quarantined in China and Chinese spies were released. Information about this
will be provided in my pleadings.

Godspeed

Sincerely,

David Andrew Christenson

Box 9063

Miramar Beach, Florida 32550
504-715-3086
davidandrewchristenson@gmail.com;
dchristenson6@hotmail.com;

 
Case 8:20-cv-00597-RGK-DFM Document 11 Filed 06/23/20 Page5of16 Page ID #:85

My books have been removed/censored/sanitized from the Library of Congress. All references to me and
my books have been removed/censored/sanitized from the Library of Congress. My books have Library of
Congress Control Numbers (LCCN). This book was placed into the Library of Congress in 2012.

The United States Supreme Court and The Katrina Virus
A Prelude/Reference Book/Appendix - Book 7
By David Andrew Christenson
ISBN 978-0-9846893-8-5 Hardback SCKV
ISBN 978-0-9846893-9-2 EBook SCKV
LCCN 2012933074
Copyright 1-724163643
Persimmon Publishing
Box 9063
Miramar Beach, Florida 32550

An Epic Constitutional Crisis. | am talking about the political destruction of all three branches (Executive,
Judicial and Legislative) of our Federal Government. One hundred and fifty five million Americans and
Canadians may be infected with The Katrina Virus. Did the United States Supreme Court participate in
the criminal cover-up? Misprision is a crime/felony. In simple terms it means that you had knowledge of
a crime and did nothing. Did the Supreme Court have knowledge? YES! | gave them the knowledge. The
real question is: what did the Supreme Court do with the knowledge of The Katrina Virus and the cover-
up?

There was no simple way to present this story. | fully acknowledge that the material is presented in an
incoherent manner. What you are reading is a compilation of my communications with the Supreme
Court since my arrest for cyberstalking FBI Special Agent Steven Rayes on March 15", 2011. It must be
emphasized that | was arrested on a Louisiana Warrant (not a Federal Warrant as one would expect.)
and | have never been charged with a crime. A Louisiana Search and Seizure Warrant was used by the
FBI to steal my evidence, documentation, etc. of what happened in New Orleans after Hurricane Katrina.
In simplistic terms chemical warfare contaminates were released from DOD and CIA classified facilities.
The United States Military conducted operational missions in violation of Federal Law and killed
Americans. 1500 Americans are still missing. Were the contaminated bodies recovered, analyzed and
burned in Federal Government incinerators? Are some of the bodies being kept alive in vegetative states
so that the Federal Government can study the long term effects of the Katrina Virus? (Remember the
Syphilis Studies in Alabama and Guatemala.)

This is a Prelude/Reference Book/Appendix. The end of the story has not been written. Judgment must
not be passed upon the Supreme Court at this time. The Supreme Court may have actually protected
me. Think about it. Who could the Supreme Court have turned to? Congress and the Executive Branch
are responsible for the murder, genocide, treason and crimes against humanity. The only option for the
Supreme Court may have been to provide me with the protection needed, to not only uncover the truth
about the Katrina Virus, but to bring it to the attention of American and Canadian people.

 
Case 8:20-cv-00597-RGK-DFM Document 11 Filed 06/23/20 Page 6of16 Page ID #:86

My books have been removed/censored/sanitized from the Library of Congress. All references to me and
my books have been removed/censored/sanitized from the Library of Congress. My books have Library of
Congress Control Numbers (LCCN). This book was placed into the Library of Congress in 2012.

Updated 10/31/2011 DAC 05:32
An Unedited Synopsis.
Please Google all names.

THE RELUCTANT PATRIOT
By Captain David Andrew Christenson
(Book Nine in a nine part series.)
Library of Congress LCCN 2011940256
ISBN 978-0-9846893-0-9 Hardback
ISBN 978-0-9846893-1-6 EBook

Factual, documented and verifiable account of what happened to (The Author) Captain David Andrew
Christenson, United States Air Force, on March 15", 2011.

On the morning of March 15", 2011 the FBI brought a 30 man SWAT team, with shoot to kill orders, to
arrest Captain David Andrew Christenson for a non-violent, non-domestic, non-drug misdemeanor
charge (Equivalent of a DUI or DWI.) of cyber stalking FBI Agent Steven Rayes. This was done under the
authority of FBI Director Robert Mueller. Misinformation was provided to the press. Six months earlier
on October 14", 2010 (This is a very important date, see below) FBI Agent Steven Rayes contacted
Captain David Andrew Christenson. Why did Agent Rayes contact Captain Christenson? Agent Rayes was
a member of the uniformed Violent Crimes Task Force and he was not a true investigative type FBI
Agent. Captain Christenson had been communicating with FBI Director Robert Mueller, Agents David
Welker, Dewayne Horner, Joseph Downing, Kelly Bryson and Paula McCants. Agent Rayes was selected
by Director Mueller to be the enforcer. Agent Rayes was an ex-enlisted Marine and street cop with no
conscious and was someone who would blindly follow orders understanding the illegal mission. Agent
Rayes was zealous and sadistic in carrying out his orders. Agent Rayes ordered Captain Christenson to
email him at his official FBI email addresses. Agent Rayes commenced to harass, stalk, threaten,
intimidate and assault Captain Christenson. On November 10°, 2010 Agent Rayes assaulted Captain
Christenson at the Hilton Hotel in New Orleans. There was a DVD of the assault. The FBI used a Louisiana
State arrest warrant and a Louisiana State search and seizure warrant. The FBI did not use Federal
Warrants. This needs to be said again. The FBI did not use Federal warrants. Captain David Andrew
Christenson has never been charged with a crime. The FBI claimed that two out of more than 500
emails sent to at least 10 different FBI Agents, including FBI Director Robert Mueller, by Captain
Christenson were threatening. The emails were not threating and were consistent with previous
informative and political emails. Captain Christenson never received an arraignment, a show cause
hearing or a preliminary examination as is required by law. Orleans Parish District Attorney Leon
Cannizzaro asked for a $500,000.00 bond. The Orleans Parish Criminal Court gave Captain Christenson a

 
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record bond of $300,000.00. Captain Christenson should have been released on his own recognizance or
a $10,000.00 bond. (An armed carjacker received a $75,000.00 bond.) Captain Christenson was held for
11 days in the Orleans Parish Prison without being charged with a crime. After day three Captain
Christenson was placed in isolation on the psychiatric floor of the house of detention (HOD) where he
was medicated without his knowledge or consent. Attorney General Eric Holder directed Assistant US
Attorney Billy Gibbens to represent Captain Christenson, which he did. Criminal defendants are not
represented by US Attorneys. Billy Gibben’s mission was to discredit Captain Christenson and to keep
him in prison. The court record confirms this. Captain Christenson was to be permanently detained ina
psychiatric hospital, medicated and discredited. The Louisiana State search and seizure warrant was

used to steal evidence, legal files, the DVD of FBI Agent Rayes assaulting Captain Christenson, the DVD of
the Danziger Bridge murders, etc. from Captain Christenson. United States Supreme Court files and
communications and evidence of “The Katrina Virus” and pending Genocide were stolen as well.

The Department of Justice classified Captain David Andrew Christenson as a

terrorist. This was done to bypass Federal Law and the Federal Judiciary. It was relayed to Captain
Christenson that if he did not stop his research and quest for justice that he would be assassinated as a
terrorist.

The FBI attempted to murder/assassinate Captain David Andrew Christenson while he was being held in
isolation in the Orleans Parish Prison. Coast Guard Commander William Wesley Goetzee was not so
lucky. He was murdered in the Orleans Parish Prison on August 7, 2011. The FBI failed with Captain
Christenson but succeeded with Commander Goetzee.

What was so important that the United States Government had to classify Captain David Andrew
Christenson as a terrorist and then attempt to murder/assassinate him?

Chemical warfare ingredients, “THE KATRINA VIRUS”, were released during Hurricane Katrina. The end
result will be GENOCIDE for the residents of New Orleans. (“The Katrina Virus” represents all of the
contaminants that were released from government research/laboratory, manufacturing and storage
facilities. These facilities were controlled directly and indirectly by the Department of Defense and the
Central Intelligence Agency and included public institutions such as local hospitals and medical schools.
The Harvard University Medical School has been tasked with studying and tracking the long term
health/medical issues and “The Katrina Virus”.

The United States Military killed, executed and murdered Americans during Hurricane Katrina and after.
A side note. Secretary of Defense Donald Rumsfeld had a very public disagreement with President
George Bush concerning the use of the military. Captain Christenson does not recall there ever being a
public disagreement between the President and the Secretary. What is strange is that the press never
picked up on the disagreement. Secretary Rumsfeld already knew about what the military had done and
was concerned about the liabilities. President Bush had to order Secretary Rumsfeld to send in the
troops. General Russel Honore and the troops arrived five days after Hurricane Katrina. General Honore

 
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confirmed to me that he was only responsible for what the military did after he arrived and not before.
He was adamant about that. Both he and Coast Guard Admiral Mary Landry lost promotions, their next
star and were forced to retire. Why the five day delay when plans and procedures require the securing
of an urban area within 72 hours after a catastrophe. There were several reasons for the delay. “The
Katrina Virus” would disperse. The DOD and the CIA, in connection with the United States Navy, could
clean up the mess without having the press around. It was brilliant the way the Federal Government
kept the press occupied with the rescue missions, the superdome and the convention center. Louisiana
Governor Kathleen Blanco was intentionally manipulated by the Federal Government and made into a
scapegoat. FEMA Director Michael Brown was manipulated as well.

The BP oil spill. To be Written.
The Danziger Bridge. To be written.

Books Seven and Eight will start in September, 2005. The US Military arrives in New Orleans in the days
preceding Hurricane Katrina. The units were issued millions of dollars in cash in satchels. Confirmed by
Teresa McKay, Director of Department of Defense Finance and Accounting Service (DFAS). Teresa’s
husband, Jeffery McKay, and | attended the Air Force Academy together and were roommates in flight
school. JK works in the Pentagon and is also one of my sources. In the days following Hurricane Katrina
President Bush and Air Force One did a flyover of New Orleans but did not land. The White House issued
a press release stating that security was not in place and that the President’s landing would detract from
the rescue missions. As an Air Force Pilot | flew support missions for the President, Air Force One and
the Secret Service. | am intimately familiar with their procedures and protocols. President Bush and Air
Force One did not land because The White House did not want to infect the President and his staff with
“The Katrina Virus” as was confirmed by Ambassador Donald Ensenat. Security was in place and Belle
Chase Naval Air Station was operational and secure. The senior leadership in New Orleans gave blood
and DNA samples. This as well as other connections to “The Katrina Virus” were confirmed by Mayor Ray
Nagin. After the Hurricane, USAA Insurance (A military insurance company run by Generals and
Admirals with strong ties to the Pentagon.) informed us that they would be paying our claim because of
the long term health issues that we would face. What did USAA know? In February, 2006 we purchased
a condominium, under fraudulent circumstances, from Louis (Lee) Madere. He was the Louisiana State
Grand Jury Foreman for the Danziger Bridge Murders. (/ cannot invent the truth) The Catholic Church

had filed a class action video voyeurism lawsuit against him. Madere entered the Federal Witness
Protection Program on October 15", 2010 (The important date from above.)}. Secretary of HUD, Mayor
and Judge Moon Landrieu, the father of Senator Mary Landrieu and Mayor Mitch Landrieu, was a major
source of information.

State Farm Insurance and the murder of prominent Los Angeles attorney James Robie of the Robie
Matthai Law Firm. To be written. Please review your homeowner’s policy. The medical liability provision
of the homeowner’s policy is substantial larger than the property loss provision. A $100,000.00 home
could have a $5,000,000.00 medical liability provision. The loss to the insurance companies would be
trillions of dollars if it was shown that “The Katrina Virus” was released.

 
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UNITED STATES COURT OF APPEALS
FOR THE DISTRICT OF COLUMBIA CIRCUIT

In re: Application of the Committee on the Case: 19-5219
Judiciary, U.S. House Of Representatives, 1:19-gj-00048-BAH
for an Order Authorizing the Release of

Certain Grand Jury Materials,

 

Committee on the Judiciary and United
States House of Representatives, Appellees
Vv.

David Andrew Christenson, Appellant

PETITION FOR EN BANC
(Thirty-Three Supplemental Petition/Application/Motion for En Banc Amicus/Notice 191)

[The three most important people in the world right now (their blood and DNA) are Mayor Ray Nagin, his
wife Seletha and the Mayor’s bodyguard. All three were quarantined in China where their blood and DNA
were taken. Reference 7-page docketed attachment: USCA Case #19-5121 Document #1795173 Filed:
06/24/2019 Page 1 of 7. Nagin is in Federal Prison in Shreveport Louisiana.]

The actions of the U.S. Government will single handedly cause the Genocide of Mankind in the next 10
years. They are covering up their own sins by throwing borrowed money (3 ~ 6 Trillion Dollars, all of
which is borrowed and so is the interest.) at a problem that does not exist. The 3 — 6 Trillion Dollars is
just for 2020. Who knows what they will spend in 2021 and on? This is an election year so they must buy
the votes. The Russians don’t tamper with our elections, we do.

It will be the U.S. debt that ultimately causes the Genocide of Mankind. The Universe will record that
Mankind committed suicide. The Coronavirus will not cause the Genocide of Mankind. The First U.S.
Death from the Coronavirus was February 29", 2020. Through March 18", 2020 there have been 147
deaths from the Coronavirus. In that same time there have been 418 suicides by U.S. Veterans. Suicide is
contagious. 80% of the Veterans were never in combat and 50% were never in theater. The U.S. Military,
as of five years ago, has 900 plus anti-suicide programs. SUICIDE HAS BECOME A LIFE CHOICE. In that
same time there have been 11,400 deaths from Influenza and Pneumonia which is contagious.
Worldwide since December 15, 2019 8,845 people have died from the Coronavirus. 65,400 plus
Americans have died during that same time from influenza and Pneumonia. The U.S. was at epidemic
levels/rates for influenza and Pneumonia deaths for the first four weeks of 2020 per the CDC and not
one media outlet wrote about it. The CDC never issued a press release because they covered it up.

 
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Our Government should have publicly addressed the negligent release of the Katrina Virus when it
happened during Hurricane Katrina in New Orleans and then again when it happened during the BP Oil
Spill in New Orleans.

The cover-up of the Genocide of Mankind will bankrupt the world.

Mankind has lost the ability to compete, survive and procreate. No government or civilization has ever
survived. The U.S. wili deficit spend 3 —6 Trillion Dollars this year, fiscal 2020.

The Chinese, BP, Time, Math, Trump, Biden, Roberts, Pelosi, McCarthy, Schumer, McConnell, the other
Demigods will ensure that the truth comes out.

The Chinese stole the Coronavirus from the United States. The theft occurred in New Orleans. Why do
you think China and Trump are having a war of words over the China Virus?

The three most important people in the world right now (their blood and DNA) are Mayor Ray Nagin, his
wife Seletha and the Mayor’s bodyguard. All three were quarantined in China where their blood and
DNA were taken. Reference 7-page docketed attachment: USCA Case #19-5121 Document #1795173
Filed: 06/24/2019 Page 1 of 7. Nagin is in Federal Prison in Shreveport Louisiana. _

The BP Oil Spill. See attachment. Corexit.

Motion to Reopen the Settlement and to increase the Settlement to 20 Trillion Dollars
Motion to Create a 20 Trillion Dollar Medical Settlement
Motion for Punitive (Treble) Damages (120 Trillion Dollars)
Motion to add the United States of America and the United Kingdom (Britain) as Defendants
The American People deserve to know the truth so please do not Seal this pleading.
August 18th, 2016

U.S. Attorney and future Attorney General Matthew Whitaker was my defense attorney starting in 2010
and then in 2011 when | was arrested for cyberstalking an FBI Agent and declared to be a terrorist.
Reference: Democratic National Committee v. The Russian Federation (1:18-cv-03501) District Court,
S.D. New York John George Koeltl

Christenson v. Democratic National Committee (1:18-cv-05769) District Court, $.D. New York Judge
Colleen McMahon

Docket for 1:18-cv-03501 SDNY 113 pages - Motion for Leave to File: Motion to Intervene and Motion to
Join filed by David Andrew Christenson on April 24th, 2018. Judge Koeltl docketed over fifty of my
pleadings.

Docket 25

Pages 24 — 27 Non-Domestic Stay Away Order FBI Director Robert Mueller is on it. 74 people are listed
and | did not know 66 of them. A third of them are court clerks. Two US Senators, a Bishop and a
building. They even listed my friends and attorneys.

Page 56 - A press release about my arrest that was a gross mistake on the part of the DOJ.

 
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Pages 57 & 58 - Bond Order and Conditions of Bail. They original asked for $500,000.00 bail for a
misdemeanor. Order 3 is no internet so | could not do research. Order 9 waives my rights for a year and
is not a requirement for bond. They put an electronic monitoring device on my ankle.

Page 59 Memorandum about US Attorney Billy Gibbens representing me in my arrest and waiving all of
my rights. Look at his bill. His job was to keep me in jail or confined to a psychiatric prison.

There must a quarantine south of I-10 from Pensacola to Beaumont. New Orleans is the epicenter.

Last year the United States deficit spent double (1.2 Trillion Dollars) what the entire National Economy
grew which was about 3% - 600 Billion Dollars. This means the “real” economy shrunk.

18 — 24 months suicides will outnumber births (End of 2022). Those women who are pregnant and
those that will get pregnant will have had their babies. The economy/debt/deficit/unemployment will
stop procreation. It will take 2-4 years for the economy to bottom out. Birth Rates and Life Expectancy
Rates will decrease to unrecoverable rates.

The economy will constrict. We could see 25 — 50% unemployment. GDP could fall to 15 Trillion Dollars.

Medicare and Social Security are our government’s biggest expenses but each has their own tax for the
employee and the employer. The government owes the Social Security and Medicare trust funds
Trillions of Doilars.

The third biggest expense is Defense followed by interest expense. INTEREST EXPENSE WILL SURPASS
DEFENSE SPENDING BY THE END OF 2022.

The stimulus plan will increase the debt to a minimum of 50 TRILLION DOLLARS BY THE END OF 2022.

Godspeed
Sincerely,

David Andrew Christenson

Box 9063

Miramar Beach, Florida 32550
504-715-3086
davidandrewchristenson@gmail.com;
dchristenson6@hotmail.com;

CERTIFICATE OF SERVICE

| hereby certify that on March 19", 2020 | filed the foregoing with the Clerk of Court and served the
pleading on all counsel of record by e-mail and first-class mail.

 

David Andrew Christenson

 
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UNITED STATES COURT OF APPEALS
FOR THE DISTRICT OF COLUMBIA CIRCUIT

In re: Application of the Committee on the Case: 19-5219
Judiciary, U.S. House Of Representatives, 1:19-gj-00048-BAH
for an Order Authorizing the Release of

Certain Grand Jury Materials,

 

Committee on the Judiciary and United
States. House. of Representatives, Appellees
Vv.

David Andrew Christenson, Appellant

PETITION FOR EN BANC
(Seventy-Three Supplemental Petition/Application/Motion for En Banc Amicus/Notice 234)

People under the age of thirty will stop procreating. In their minds intimacy will result in contracting
COVID19 and thus death. In their minds they will not want to bring a child into this world.

The perfect weapon is a vaccine. The conclusion of our obsession with vaccines is that it decreases our
ability and desire to procreate. It is an unstoppable circle of death.

Humans evolved with viruses, bacteria, fungi, etc. We need viruses, bacteria, fungi, etc. to survive and
propagate the species.

In simple terms: We are removing what makes us stronger from our everyday life.

Godspeed

Sincerely,

David Andrew Christenson

Box 9063 - Miramar Beach, Florida 32550

904-715-3086 - davidandrewchristenson@gmail.com; - dchristenson6@hotmail.com;

CERTIFICATE OF SERVICE

| hereby certify that on May 6", 2020 | filed the foregoing with the Clerk of Court and served the
pleading on all counsel of record by e-mail and first-class mail.

 

David Andrew Christenson

 
Case 8:20-cv-00597-RGK-DFM

Andrew M. Cuomo
Governor of New York
State Capitol

Albany, NY 12224

Mayor Biil de Blasio

City Hall
New York, NY 10007

April 23", 2020

Document 11 Filed 06/23/20

Governor John Bel Edwards
Louisiana

PO Box 94004

Baton Rouge, LA 70804

Mayor Latoya Cantrell
1300 Perdido St

2nd Floor

New Orleans, LA 70112

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Governor Ron DeSantis
The Capitol

400 S. Monroe St.
Tallahassee, FL 32399

Michael Huckabee

756 Blue Mountain Road
Santa Rosa Beach,
Florida 32459

YOU, YOUR STATES AND CITIES, ALL ARE GOING TO FILE BANKRUPTCY BECAUSE THE KATRINA VIRUS IS

REAL

Majority Leader Mitch McConnell stated so yesterday.

The Federal Government fucked you and you allowed them to do so and in turn you fucked all

Americans.

Watch how they continue to fuck you and all Americans.

Godspeed

Sincerely,

David Andrew Christenson
Box 9063

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Andrew M. Cuomo Governor Ron DeSantis Gov. Gretchen Whitmer
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Mayor Bill de Blasio Michael Huckabee Mayor Mike Duggan
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Governor John Bel Edwards
Louisiana Governor Ned Lamont Gov. Phil Murphy
PO Box 94004 CT. State Capitol New Jersey
Baton Rouge, LA’ 70804 ~~ 210 CapitolAverme-—- ~~. ~~ PO Box 064.»
Hartford, CT 06106 Trenton, NJ 08625
Mayor Latoya Cantrell
1300 Perdido St
2nd Floor

New Orleans, LA 70112
April 26, 2020

The new Influenza and Pneumonia season starts September 27", 2020. The mutation of COVID19 in
conjunction with the new Influenza and Pneumonia season means we will not have a Presidential
Election or at least not a fair one. The Genocide of Mankind will become even more apparent. We
committed suicide. Our leaders failed to protect us for political gain.

The Katrina Virus is real. There is a famine in Africa that is spreading to India and Pakistan and then on
to China, the U.S. and finally to Europe. The U.S. debt in equivalent dollars on Inauguration Day 2021 will
be at least 35 Trillion Dollars with the economy constricting. Since the beginning of the Industrial
Revolution we have not seen such an abrupt changing to the World’s weather and that change will
exacerbate the famine. We will see spikes in temperature, either high or low and droughts or monsoons.

The end of times and we are still covering up the release of The Katrina Virus. Review my court
pleadings.

Godspeed

Sincerely,

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Gov. Phil Murphy
New Jersey

Trenton, NJ 08625

April 27", 2020 - As you read this remember that suicide is contagious and that therapy and medication
do not work. The U.S. Military has 900 plus anti-suicide programs and none of them work.

The Solution - This is what suicide is and why Mankind will cease to exist. Sunarcissism — Suicide over
honor. Are we stupid or not? Look around and see the shit hole that we are in. | despise Trump. We
might elect a guy who created the shit hole by serving 36 years as a U.S. Senator and 8 years as the Vice-
President. 44 years of screwing us and now we want him to be President. We are not a Democracy.

Amicus/Notice 193 Nationalize Religions and confiscate their property and assets.
Amicus/Notice 119 Anyone elected to a Federal Office Resigns.
Amicus/Notice 196 Herculean effort to help farmers.
Amicus/Notice 205 Oil needs to be a dollar a barrel.
Amicus/Notice 220 Katrina Virus Response (KVR). We see each other as a threat. KVR will stop
procreation. There will be no intimacy. ~

Godspeed - Sincerely,

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